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                                  SEAMAN, Court-Appointed Receiver
                              7
                                  Thomas Seaman, CFA
                              8   Court-Appointed Receiver
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                                  Telephone (949) 222-0551
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                           11
                                                              UNITED STATES DISTRICT COURT
                           12
                                                          CENTRAL DISTRICT OF CALIFORNIA
                           13
                                  FEDERAL TRADE COMMISSION,                  Case No.: 2:18-cv-00729 JAK-MRW
                           14
                                                 Plaintiff,                  Assigned to Hon. John A. Kronstadt
                           15
                                           v.
                           16                                                DECLARATION OF
                                  DIGITAL ALTITUDE LLC, a                    BENJAMIN R. KING IN
                           17     Delaware limited liability company;        SUPPORT OF THIRD MOTION
                                  DIGITAL ALTITUDE LIMITED,                  OF RECEIVER THOMAS A.
                           18     United Kingdom company; ASPIRE             SEAMAN FOR APPROVAL TO
                                  PROCESSING LLC, a Nevada limited           PAY INTERIM FEES AND COSTS
                           19     liability company; ASPIRE                  TO RECEIVER’S COUNSEL,
                                  PROCESSING LIMITED, a United               LOEB & LOEB, LLP
                           20     Kingdom company; ASPIRE
                                  VENTURES LTD., a United Kingdom
                           21     company; DISC ENTERPRISES INC.,            Date: November 18, 2019
                                  a Nevada corporation; RISE SYSTEMS
                                  & ENTERPRISE LLC, a Utah limited           Time: 8:30 a.m.
                           22
                                  liability company; RISE SYSTEMS &          Place: Courtroom 10B
                           23     ENTERPRISE LLC, a Nevada limited                  350 W. First Street
                                  liability company; SOAR
                                  INTERNATIONAL LIMITED                             Los Angeles, 90012
                           24
                                  LIABILITY COMPANY, a Utah
                           25     limited liability company; THE
                                  UPSIDE, LLC, a California limited         Complaint Filed: January 29, 2018
                           26     liability company; THERMOGRAPHY
                                  FOR LIFE, LLC, also d/b/a LIVING
                           27     EXCEPTIONALLY, INC., a Texas
                                  limited liability company; MICHAEL
                           28     FORCE, individually and as an officer,
                                                                           DECLARATION OF BENJAMIN R. KING IN SUPPORT
      Loeb & Loeb                 17533099.2                               OF MOTION FOR APPROVAL TO PAY INTERIM FEES
A Limited Liability Partnership
    Including Professional        211605-10008                             AND COSTS
         Corporations
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                              1   member and/or manager of Digital
                                  Altitude LLC and Soar International
                              2   Limited Liability Company; MARY
                                  DEE, individually and as an officer,
                              3   member and/or manager of Digital
                                  Altitude LLC, Digital Altitude Limited,
                              4   Aspire Processing LLC, RISE Systems
                                  & Enterprise LLC, The Upside, LLC,
                              5   and Thermography for Life, LLC;
                                  MORGAN JOHNSON, individually and
                              6   as an officer, member and/or manager of
                                  Digital Altitude LLC and RISE Systems
                              7   & Enterprise LLC; ALAN MOORE,
                                  individually and as an officer, member
                              8   and/or manager of Digital Altitude LLC
                                  and Aspire Processing Limited; and
                              9   SEAN BROWN, individually and as an
                                  officer, member and/or manager of
                           10     Aspire Processing LLC, Disc
                                  Enterprises Inc. and RISE Systems &
                           11     Enterprise LLC,
                           12                    Defendants.
                           13
                           14                          DECLARATION OF BENJAMIN R. KING
                           15              I, Benjamin R. King, hereby declare as follows:
                           16              1.    I am an attorney with the law firm of Loeb & Loeb LLP, counsel of
                           17     record for Thomas A. Seaman, the Court-appointed Receiver in the above-captioned
                           18     matter. I am in good standing and am duly licensed to practice law before this
                           19     Court. I am one of the attorneys principally responsible for handling the day-to-day
                           20     representation of the Receiver in this action. The following is of my own personal
                           21     knowledge, and if called as a witness, I could and would competently testify thereto.
                           22     I make this Declaration in support of the concurrently filed Motion of Receiver
                           23     Thomas A. Seaman for Approval to Pay Interim Fees and Costs to Receiver’s
                           24     Counsel, Loeb & Loeb, LLP (“Motion”).
                           25              2.    The primary attorneys and paralegal responsible for the day-to-day
                           26     representation of Receiver are as follows:
                           27
                           28
                                                                                   DECLARATION OF BENJAMIN R. KING IN
      Loeb & Loeb
A Limited Liability Partnership
                                  17533099.2                          2            SUPPORT OF MOTION FOR APPROVAL TO
    Including Professional
         Corporations
                                  211605-10008                                     PAY INTERIM FEES AND COSTS
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                              1           Attorney         Title/Position    Standard Hourly      Discounted Hourly
                              2                                                Billing Rate          Billing Rate
                                    Lance N. Jurich           Partner            $900.00               $695.00
                              3   (Admitted in 1988)
                              4    Benjamin R. King           Partner             $775.00                $595.00
                                  (Admitted in 1999)
                              5    Daniel Friedman            Senior              $750.00                $575.00
                                  (Admitted in 1985)         Counsel
                              6
                                  Fiona P. McKeown           Paralegal            $380.00                $300.00
                              7         (1993)
                              8
                              9            3.    The billing rates listed above are the rates negotiated between the
                           10     Receiver and Loeb and not the rates normally billed to Loeb’s other clients for
                           11     similar services. For example, Lance Jurich’s standard billing rate for 2019 is
                           12     $900.00 and my standard billing rate for 2019 is $775.00.
                           13              4.    I was first admitted as an attorney in October, 1999, and have served in
                           14     that capacity regularly since that time (roughly 19 years). Through such work,
                           15     I have gained an understanding as to the billing rates normally charged by firms
                           16     similar to Loeb in terms of size and expertise. The standard hourly rates as stated
                           17     above are reasonable for attorneys of like experience to me, Mr. Jurich, and
                           18     Mr. Friedman in the relevant Los Angeles market. Nevertheless, as stated above,
                           19     Loeb has agreed to significantly discount its rates in this matter, to $695/hr. for
                           20     Mr. Jurich, $595/hr for Mr. Daniel Friedman and $595/hr. for Mr. King and $300/hr
                           21     for Ms. McKeown (the latter reduced from $380/hour to $300/hour in keeping with
                           22     this Court’s ruling on the prior Second Fee Application pertaining to Loeb’s fees).
                           23     Loeb agreed to these rates without increases during the life of this matter, which has
                           24     continued for roughly 1.5 years after its initial filing.
                           25              5.    Loeb kept detailed and segregated records of the billable time for which
                           26     the Receiver now seeks authority to pay. Attached hereto as Exhibit A is a true and
                           27     correct set of invoices prepared by Loeb’s billing department (redacted for
                           28
                                                                                     DECLARATION OF BENJAMIN R. KING IN
      Loeb & Loeb
A Limited Liability Partnership
                                  17533099.2                            3            SUPPORT OF MOTION FOR APPROVAL TO
    Including Professional
         Corporations
                                  211605-10008                                       PAY INTERIM FEES AND COSTS
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                              1   privilege) setting forth the specific tasks performed and the time spent performing
                              2   those tasks by Loeb’s timekeepers identified above.
                              3            6.    The total amount of attorneys’ fees incurred for these activities (after
                              4   Loeb’s discount on its rates is applied), is $87,755.50. These fees and costs are
                              5   broken down in detail not only in the accompanying Loeb invoices which reflect
                              6   task billing (and not block billing) to show the specific work, but also in the
                              7   summary charts prepared in the format this Court requires in its Initial Standing
                              8   Order in this matter [Docket No. 65] and attached hereto as Exhibits B and C,
                              9   respectively. In addition to these charts, and also as required by this Court’s Initial
                           10     Standing Order, Loeb will email to this Court an Excel-format spreadsheet which
                           11     will contain all of Loeb’s billing entries for the relevant time period. Loeb will not
                           12     redact the entries on the Excel Spreadsheet for privilege given its understanding that
                           13     the spreadsheet is for this Court’s use and is not to be served on the parties or any
                           14     third parties (and because redaction of an editable electronic document is
                           15     problematic).
                           16              7.    The costs incurred on behalf of the Receivership Estate through Loeb
                           17     during the same period total $270.22. The detail for such costs is included on the
                           18     invoices attached collectively as Exhibit A, and are summarized as follows:
                           19
                           20                          Cost                                  Amount
                                                       LEXIS RESEARCH                            $9.40
                           21                          LOCAL TRAVEL                             $34.85
                                                       MESSENGER/COURIER                       $968.08
                           22                          ONLINE RESEARCH                          $74.20
                                                       PHOTOCOPY                               $138.75
                           23                          POSTAGE                                  $15.94
                           24                          SERVICE FEE -                            $60.00
                                                                                             $1301.22
                           25
                           26              8.    Again, the attorneys who have primarily performed services for the
                           27     Receiver in this matter are Lance N. Jurich and myself. Mr. Jurich is a partner in
                           28
                                                                                     DECLARATION OF BENJAMIN R. KING IN
      Loeb & Loeb
A Limited Liability Partnership
                                  17533099.2                           4             SUPPORT OF MOTION FOR APPROVAL TO
    Including Professional
         Corporations
                                  211605-10008                                       PAY INTERIM FEES AND COSTS
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                              1   our Los Angeles Creditor’s Rights And Bankruptcy Department, is a very
                              2   experienced attorney who has served for 30 years specializing in the areas of
                              3   bankruptcy, receiverships, restructuring, workouts and turnarounds. He has
                              4   effectively represented Loeb’s clients’ interests related to federal and state
                              5   bankruptcy and state-court creditors’ rights proceedings. A true and correct copy of
                              6   Mr. Jurich’s Bio is attached hereto as Exhibit D.
                              7            9.    I am also a partner in Loeb’s Los Angeles Creditor’s Rights And
                              8   Bankruptcy Department, and am a commercial litigator and creditors’ rights
                              9   attorney with substantial experience and expertise representing receivers. I am a
                           10     member of the Board of Directors for the Los Angeles/Orange County Chapter of
                           11     the California Receiver’s Forum, and I specialize in the employment of prejudgment
                           12     remedies such as receiverships and injunctive remedies. In my 19-year career,
                           13     I have represented both receivers and secured lenders seeking the appointment of
                           14     receivers in both state and federal court. A true and correct copy of my current Firm
                           15     Bio is attached hereto as Exhibit E.
                           16              10.   Attorney Daniel Friedman performed a very limited role in preparing
                           17     evidentiary objections in connection with the Receiver’s motion for turnover from
                           18     PMV. Mr. Friedman holds the title of Senior Counsel at Loeb and is an experienced
                           19     litigator and trial lawyer. Mr. Friedman was admitted to the State Bar of California
                           20     June of 1992. A true and correct copy of Mr. Friedman’s Firm Bio is attached
                           21     hereto as Exhibit F.
                           22              11.   Also assisting with Receiver’s representation is paralegal Fiona
                           23     Mckeown. Ms. McKeown has practiced as a paralegal since September of 1993 and
                           24     has been employed by Loeb & Loeb, LLP since June of 2005. She currently
                           25     supports Loeb’s litigation and bankruptcy practice groups. Ms. McKeown’s work in
                           26     connection with this matter for purposes of the Fees Motion was primarily to assist
                           27     with the preparation of the Receiver’s first and second fee applications to this Court
                           28     for fees and costs incurred by Receiver and Receiver’s counsel. Ms. McKeown was
                                                                                   DECLARATION OF BENJAMIN R. KING IN
      Loeb & Loeb
A Limited Liability Partnership
                                  17533099.2                          5            SUPPORT OF MOTION FOR APPROVAL TO
    Including Professional
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                                  211605-10008                                     PAY INTERIM FEES AND COSTS
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                              1   assigned to this task in light of her particular expertise in the area of bankruptcy,
                              2   where fees regularly require court approval and fee applications are therefore
                              3   frequently made. Ms. McKeown’s experience permitted her to operate with
                              4   minimal oversight in preparing the subject fee application and motion. The Ninth
                              5   Circuit has generally recognized the propriety of including paralegal time in an
                              6   award of attorneys’ fees, as paralegals often perform work that would otherwise be
                              7   performed by young attorneys. See Pacific Coast Agricultural Export Assoc. v.
                              8   Sunkist Growers, Inc., 526 F.2d 1196, 1210, n. 19 (9th Cir. 1975).
                              9            12.   Ms. McKeown’s standard billing rate for the work performed currently
                           10     is $380/hr. This Court previously discounted Ms. McKeown’s rate to $300 per hour
                           11     in connection with Receiver’s previous fee application for Loeb fees/costs.
                           12     In keeping with that, Loeb is discounting Ms. McKeown’s rate to that amount for all
                           13     future activities in this matter – frozen along with Loeb’s rates for other timekeepers
                           14     in this matter.
                           15              13.   Despite having over 25 years of experience, Ms. McKeown’s hourly
                           16     rate is lower than several other paralegals who support the litigation department at
                           17     Loeb. Ms. McKeown’s work on the subject fee applications created value for the
                           18     receivership estate here as her work directly reduced the amount of time that myself
                           19     and my colleague, Mr. Lance Jurich, were required to spend on the tasks she
                           20     undertook (and her billing rate is substantially lower than ours). I have served as a
                           21     licensed attorney since December 1999. In my eighteen years serving as a litigation
                           22     and bankruptcy attorney, I have become generally familiar with the billing rates
                           23     prevailing in the community at firms in a similar market to Loeb & Loeb, LLP.
                           24     Based upon that experience, I believe that Ms. McKeown’s standard billing rate of
                           25     $370/hr is competitive with those of paralegals of her general experience and
                           26     expertise at comparable Los Angeles law firms. Ms. McKeown’s discounted rate is
                           27     therefore reasonable in light of the same.
                           28
                                                                                    DECLARATION OF BENJAMIN R. KING IN
      Loeb & Loeb
A Limited Liability Partnership
                                  17533099.2                          6             SUPPORT OF MOTION FOR APPROVAL TO
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                                  211605-10008                                      PAY INTERIM FEES AND COSTS
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                              1            I declare under penalty of perjury of the United States of America that the
                              2   foregoing is true and correct, on this15th Day of August, 2019, at Los Angeles,
                              3   California.
                              4
                              5                                             /s/ Benjamin R. King
                                                                           Benjamin R. King
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                                                                                    DECLARATION OF BENJAMIN R. KING IN
      Loeb & Loeb
A Limited Liability Partnership
                                  17533099.2                           7            SUPPORT OF MOTION FOR APPROVAL TO
    Including Professional
         Corporations
                                  211605-10008                                      PAY INTERIM FEES AND COSTS
